                  Case 1:17-cv-01236-RBJ Document 27
                                                  24 Filed 12/06/17
                                                           11/28/17 USDC Colorado Page 1 of 1
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                                                                               BILL OF COSTS
                                                                                            DISTRICT
                   United States District Court                                                                           DISTRICT OF COLORADO
                                                                                            DOCKET NO.
Scottsdale Indemnity Company                                                                                1:17-cv-01236-RBJ
   v.
                                                                                            MAGISTRATE CASE NO.
Convercent, Inc.; O'Neal Patrick Quinlan, III; Steve Foster
                                                                                                      UN
                                                    11/14/17
           Judgment having been entered in the above entitled action on                                   ITE
                                                                                                                DS
                                                                                                                   TA toFtax
                                                                                                                           ILE
           against Convercent, Inc., Patrick Quinlan & Steve Foster                               the clerk isDrequested
                                                                                                                EN TE        the
                                                                                                                               D following as costs:
                                                                                                                   VE S DIS
                                                                          BILL OF COSTS JE                             R       TR
                                                                                                        FFR Dec , COL               ICT
           Fees of the clerk                                                                                  EY       .      O
                                                                                                                  P. C 6, 20 ADO URT
                                                                                                                                R       CO      $                           400.00

                                                                                                                          WE 17
                                                                                                                       OL
           Fees for service of summons and complaint                                                                         LL                 $
                                                                                                                                 , CL
                                                                                                                                      ER
                                                                                                                                         K
           Fees of the court reporter for all or any part of the transcript necessarily obtained for use in the case                            $


           Fees and disbursements for printing                                                                                                            $


           Fees for witnesses (itemized on reverse side)                                                                                                  $


           Fees for exemplification and copies of papers necessarily obtained for use in the case                                                         $


           Docket fees under 28 U.S.C. § 1923                                                                                                             $


           Costs incident to taking of depositions                                                                                                        $


           Costs as shown on Mandate of Court of Appeals                                                                                                  $


           Other costs (Please itemize)                                                                                                                   $




           3OHDVHUHYLHZDQGFRPSO\ZLWK'&&2/2/&LY5

           (See Notice section on reverse side)
                                                                                                                           TOTAL              $                           400.00
                                                                             DECLARATION                         Awarded per the parties' Stipulation, Docket No. 25.
              I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the services for which fees
           have been charged were actually and necessarily performed. A copy hereof was this day mailed with postage fully prepaid thereon to:

           Signature of Attorney        /s/ Benjamin C. Eggert
           Print Name                                                                              Phone Number
                         Benjamin C. Eggert                                                                           202 719-7000

           For:           Scottsdale Indemnity Company                                             Date               11/27/17
                         Name of Claiming Party


                                                                                                             VACATED
Please take notice that I will appear before the Clerk who will tax said costs Date and Time December 19, 2017 at 9:30am by telephonic conference.
on the following day and time:
Costs are hereby taxed in the following amount and included in the judgment: Amount Taxed $
                                                                                               400.00
                                                                               (BY) DEPUTY CLERK
CLERK OF COURT                                                                                  s/ Edward P. Butler
JEFFREY P. COLWELL                                                             DATE:
                                                                                                 Dec. 6, 2017
